Cygnus Systems, Inc. v. Microsoft Corporation, et al                                               Doc. 94

                                    IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF ARIZONA
                                          CIVIL MINUTES - GENERAL
  Phoenix Division

  CIV 07-2298-PHX-JWS                                     DATE:2/14/2008
      Year Case No Initials
  Title: Transwestern Pipeline Company, LLC              vs.
                                         2.55 acres, more or less, of permanent easement
                   Plaintiff              located in Maricopa County, et al.
                                                        Defendant
  ==============================================================================

  HON: JOHN W. SEDWICK                   Judge # 7-11

  Christine Boucher                                       Vicki Reger
  Deputy Clerk                                            Court Reporter/ECR
  Attorney(s) for Plaintiff(s)                            Attorney(s) for Defendant(s)

  John Lemaster                                           Russell Rea

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  PROCEEDINGS:               X     Open Court           Chambers        Other

  Status Hearing held. Order to follow.




  Time in court:0




                                                                                         Dockets.Justia.com
